                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:24-CV-00575-FDW-DCK

 SHIRON VICK AND VICK COMPANIES,                      )
 LLC,                                                 )
                                                      )
                Plaintiffs,                           )
                                                      )
    v.                                                )                  ORDER
                                                      )
 AMES CONSTRUCTION, INC. AND                          )
 NORTH CAROLINA DEPARTMENT OF                         )
 TRANSPORTATION,                                      )
                                                      )
                Defendants.                           )
                                                      )

         THIS MATTER is before the Court on the Motions to Dismiss filed by Defendants Ames

Construction, Inc. and the North Carolina Department of Transportation. (Doc. Nos. 11, 14.) In

response to these motions to dismiss, Plaintiffs Shiron Vick and Vick Companies, LLC filed an

Amended Complaint. (Doc. No. 17.) Defendants subsequently moved to dismiss the Amended

Complaint. (Doc. Nos. 22, 23.) Accordingly, the first Motions to Dismiss, (Doc. Nos. 11, 14), are

DENIED AS MOOT.

         IT IS THEREFORE ORDERED that Ames Construction, Inc.’s Motion to Dismiss,

(Doc. No. 11), and the North Carolina Department of Transportation’s Motion to Dismiss, (Doc.

No. 14), are DENIED AS MOOT.

         IT IS SO ORDERED.                  Signed: January 28, 2025




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